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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                 Case No.: 0:19-cv-61860-MGC

 DONNA FINKEL and JOHN CIVETTI,

                Plaintiffs,
 v.

 M&T BANK, BAYVIEW LOAN SERVICING, LLC


             Defendants.
 ____________________________________/

                                 NOTICE OF APPEARANCE

          PLEASE TAKE NOTICE that, William P. Heller, Esq., Eric S. Matthew, Esq., Forton H.

 Wimbush, Esq., and the law firm of Akerman LLP, hereby enter their appearance as counsel on

 behalf of Defendant, Bayview Loan Servicing, LLC and request that copies of all orders,

 process, pleadings, and other documents filed or served in this matter be served on them via

 CM/ECF or at the address listed below, as appropriate.

                                                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify on July 29, 2019, the foregoing was electronically filed with the Clerk of

 the Court by using the CM/ECF electronic filing system which will automatically send a copy to

 all counsel of record in this case registered on the CM/ECF system. The foregoing was also

 served in accordance with the method identified in the attached service list.


                                                       s/ Forton H. Wimbush__________
                                                        Forton H. Wimbush




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                                          SERVICE LIST

                   DONNA FINKEL AND JOHN CIVETTI vs. M&T BANK
                       AND BAYVIEW LOAN SERVICING, LLC
                            CASE No.: 0:19-cv-61860-MGC

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